Mr. Morris Winfrey 2122 Commerce Little Rock, AR 72206
Dear Mr. Winfrey:
You have requested an opinion of this office regarding the Arkansas Freedom of Information Act (FOIA), under the authority granted in A.C.A. 25-19-105(c)(3)(B).
Specifically, you ask if your employment application, submitted at the time of your employment by a municipality, is available for public inspection and copying under the provision of the FOIA.
The answer to your question is "yes".  This office has previously opined on several occasions that employment applications are available for review by the public.  Attorney General Opinion Nos.87-70, 87-108, 87-154, and 87-189.
There may be some information that should be deleted prior to release as required by federal law such as, for instance, social security numbers.  I lack sufficient information, however, to determine if such information exists in this particular instance.
The foregoing opinion, which I hereby approve, was prepared by Assistant Attorney General Elisabeth A. Walker.